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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION

 SANDRA LAURENTANO

         Plaintiff,

 v.                                                     CASE NO.: 5:18-cv-00285-JSM-PRL

 DNF ASSOCIATES, LLC, and HARVARD
 COLLECTION SERVICES, INC.

        Defendant.
 _____________________________________/

NOTICE OF PENDING SETTLEMENT AS TO DEFENDANT DNF ASSOCIATES LLC, ONLY

        PLAINTIFF, SANDRA LAURENTANO, by and through her undersigned counsel, hereby

submits this Notice of Pending Settlement and states that Plaintiff, SANDRA LAURENTANO, and

Defendant, DNF ASSOCIATES, LLC only, have reached a settlement with regard to this case and are

presently drafting, finalizing, and executing the settlement and dismissal documents. Upon execution of

same, the parties will file the appropriate dismissal documents with the Court.

                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on this 28th day of March, 2019, a true and correct copy of
the foregoing was filed with the Clerk of the Court and served on the parties of record using the
CM/ECF system.
                                                  Respectfully submitted,

                                                 /s/Heather H. Jones
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                                                 William “Billy” Peerce Howard, Esq.
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